PRoB. 12 01 _, [2033¢2/_, ”U/

lR‘-“' 3'33) Case 2: 01- --cr 20332- SHI\/| Document 80 Filed 08/24/05 Page 1 of 2 Page|D 81
UNITEI) STATES DlSTRlCT COURT

for
WESTERN DISTRICT OF TENNESSEE 1 11 1 :'1 ".-_:;z /

U.S.A. vs. CURTIS L. BYRD Docket No. 2: ‘01CR2032.5."

 

Petition on Probation and Su ervised Release 1 1 -:
" _ 1111)/11;;5111
CoMEs Now Wiuie s william 51 PROBATION oFFICER OF THE COURT p&esé'atn@ 1111 official
report upon the conduct and attitude of Curtis L. B}gd , Who was placed on supervision by the Honorable Samuel
H. Mays2 Jr. sitting in the Court at Memphis, TN , on the__l_'& day of Januag, 2093`__, who fixed the period of
supervision at three 131 years* , and imposed the general terms and conditions theretofore adopted by the Court
and also imposed Special Conditions and terms as follows:

 

l . The defendant shall participate as directed in a program (outpatient and/or inpatient) approved by the
Probation Ofiice for treatment of narcotic addiction or drug or alcohol dependency which may include testing
for the detection of substance use or abuse. Further, the defendant shallbe required to contribute to the costs
of services for such treatment not to exceed an amount determined reasonable by the Probation Officer.

2. The defendant shall provide the Probation Ofiicer access to any requested financial information

L)_)

The defendant shall seek and maintain lawfiil full-time employment, except that the defendant shall not hold
employment involving financial and/or credit services, or in any mortgage-related business

4. The defendant shall pay a $1,000.00 fine in regular monthly installments of not less than ten percent (10%)
of his gross monthly income.

* Eff`ective Date of Supervision: May 6, 2004
** The defendant was re~sentenced on September 10, 2004. He was credited with eight (8) months
toward Supervised Release term.

RESPECTFULLY PRESENTING PETITI()N FOR ACTION OF COURT FOR CAUSE AS F()LLOWS:

Curtis L, Byrd’s overall response to supervision has been satisfactory, with the exception being his failure to pay his
fine in full. Mr. Byrd’s lack of stable employment is believed to be the primary reason for his inability to satisfy this
condition To date, a total 0f$501,24 has been paid toward the fine. The outstanding balance is $498.76.

PRAYING THAT THE COURT WILL ORDER that Mr. Byrd’s Probation be allowed to terminate as scheduled
on September 5, 2005, with the understanding that the United States Attorney’s Of:lice will be responsible for the
continued collection of the fine.

 

ORDER ()F COURT Respectf`ully, 7
Considered nd Ord ed this q'_%_'_lday //M if
o_f H""§ "`$ , 203__, and ordered filed éWiilie S. Wti/l/ms, Jr.
and made a part of th records in the above Senior United States Probation Officer
C&S€. M_`__,
yj Place: l\/Iemphis` Tennessee

 

 

U. S. District Judge Samuel I-I. Mays Tlr..S documem entered on the dockg gé[_@et inAU&l§erZ‘-j 2005
___,_"L.Q£--

with Rule 55 andlor 3211')) FHCrP on

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 80 in
case 2:0]-CR-20332 was distributed by fax, mail, or direct printing on
August 29, 2005 to the parties listed.

 

 

Tracy Lynn Berry

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Curtis L. Byrd
FPC-FORREST CITY
P.O. Box 8000
Forrest City, AR 72336

Honorable Samuel Mays
US DISTRICT COURT

